      Case 18-23081-GLT                    Doc 12 Filed 08/09/18 Entered 08/09/18 16:23:59                                 Desc Ch 7
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Information to identify the case:
Debtor 1              Lore Ann Massey                                                   Social Security number or ITIN        xxx−xx−3149
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            WESTERN DISTRICT OF
PENNSYLVANIA                                                                            Date case filed for chapter 7 8/1/18
Case number:          18−23081−GLT


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Lore Ann Massey

2.      All other names used in the fka Lore Ann LaFace
        last 8 years

3.     Address                               641 Old National Pike
                                             Brownsville, PA 15417

4.     Debtor's attorney                     Matthew J. Madvay                                      Contact phone 724−222−7450
                                             Matthew J. Madvay & Associates
       Name and address                      60 East Beau Street                                    Email: mjmadvay@verizon.net
                                             Washington, PA 15301

5.     Bankruptcy trustee                    Pamela J. Wilson                                       Contact phone 412−341−4323
                                             810 Vermont Avenue
       Name and address                      Pittsburgh, PA 15234                                   Email: pwilson@epiqtrustee.com
                                                                                                               For more information, see page 2 >
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Debtor Lore Ann Massey                                                                                              Case number 18−23081−GLT


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court                                        Hours open:
                                                5414 U.S. Steel Tower                                        Mon. − Fri. Pittsburgh Office:
    Documents in this case may be filed at this 600 Grant Street                                             9:00a.m. − 4:30p.m. Erie Office:
    address. You may inspect all records filed Pittsburgh, PA 15219                                          9:00a.m. − 4:30p.m.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone 412−644−2700

                                                                                                             Date: 8/9/18

7. Meeting of creditors                          October 5, 2018 at 09:00 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              First Floor Conference Room, 29
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            West Cherry Avenue,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Washington, PA 15301


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 12/4/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
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                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:
                                                                              Bankruptcy Case No.: 18−23081−GLT
Lore Ann Massey                                                               Chapter: 7
fka Lore Ann LaFace
   Debtor(s)


Whereas, Federal Rule of Bankruptcy Procedure 1007(c) requires an individual Debtor(s) to file a statement
regarding completion of a course in personal financial management within 60 days after the first date set for the
meeting of creditors under §341 of the Bankruptcy Code in a Chapter 7 case and,

Whereas, 11 U.S.C. § 727 (a)(11) states that the Court shall not grant a discharge unless the Debtor(s) completes an
instructional course concerning personal financial management after filing the petition,

It is hereby ordered that this case shall be closed without entry of a discharge on the 75th day after the first date set for
the meeting of creditors unless, within the 60 days after the first date set for the meeting of creditors, the Debtor(s)
files a certification that the course in personal financial management described in 11 U.S.C. § 111 was completed.
The certification must substantially conform to Official Form No. 423, Certification of Completion of Instructional
Course Concerning Personal Financial Management. The Court may delay closing this case without further order or
notice.

It is further ordered that a Debtor(s) who cannot meet the requirement of attending the personal financial management
course due to incapacity, disability or active military duty in a military combat zone must file a motion with the court
to be excused from attending the course within 60 days after first date set for the meeting of creditors. The case shall
be closed without entry of a discharge if the Debtor(s) fails to timely file the motion.




Dated: August 9, 2018                                                             Gregory L. Taddonio
                                                                                  United States Bankruptcy Judge
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                                              REMINDER TO COUNSEL

Before filing: Generally, a person is ineligible to be a Debtor unless he/she has taken a credit counseling course
within 180 days before filing a petition, and files the certificate. 11 U.S.C. Section 109(h)(1).

After filing: A Chapter 7 Debtor is ineligible for a discharge if he/she has not, within 60 days after the first date fixed
for the 341 meeting, filed the certificate of having taken the personal financial management course (Official Form
423). 11 U.S.C. Section 727(a)(11) and Rule 1007(b)(7).
